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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

DAMIAN LAMARK, ET AL.,                           §
                                                 §
        Plaintiffs,                              §
                                                 §
vs.                                              §   CIVIL ACTION NO. 4:18-cv-01887
                                                 §
U.S. BANK, N.A.,                                 §
                                                 §
        Defendant.                               §


                      AGREED ORDER OF DISMISSAL WITH PREJUDICE


        The Court, having considered Plaintiffs Damian Lamark and Brian A. Brewer-Trustee

("Plaintiffs") and Defendant U.S. Bank National Association's ("Defendant") Joint Motion to

Dismiss with Prejudice (the "Joint Motion"), finds that the Joint Motion should be, and hereby is,

in all things, GRANTED. It is therefore

        ORDERED, ADJUDGED, AND DECREED that all claims Plaintiffs asserted, or could

have asserted, against Defendant in this lawsuit are hereby DISMISSED WITH PREJUDICE;

and it is further

        ORDERED, ADJUDGED, AND DECREED that all costs, expenses, and attorney fees

are taxed against the party incurring same.



SIGNED this ____ day of ___________________, 2018.


                                              _______________________________________
                                              UNITED STATES DISTRICT COURT JUDGE




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                                           Agreed as to substance and form,

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